
726 S.E.2d 857 (2012)
STATE
v.
MONTI and Thornton.
No. 95P12-1.
Supreme Court of North Carolina.
June 13, 2012.
Glenn Gerding, Chapel Hill, for Monti, Dustin Lewis.
Kevin P. Bradley, Durham, for Thornton, Joshua L.
Latoya B. Powell, Assistant Attorney General, for State of North Carolina.
Frank R. Parrish, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 22nd of March 2012 by Defendant (Monti) to Dissolve Temporary Stay:
"Motion Dismissed as Moot by order of the Court in conference, this the 13th of June 2012."
